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                              DECLARATION OF HEIDI CLARK
                I, Heidi Clark, declare as follows:

        1.      I am a resident of the State of Illinois. I am over the age of 18 and have personal

 knowledge of all the facts stated herein, except to those matters stated upon information and

 belief; as to those matters, I believe them to be true. If called as a witness, I could and would

 testify competently to the matters set forth below.

        2.      I am currently employed by the Illinois Department of Public Health (IDPH) as

 Division Chief for the Division of Infectious Diseases. From late 2020 until June of 2021, I also

 functioned as acting Section Chief for the Immunizations Section.

        3.      As Division Chief for the Division of Infectious Diseases, I am responsible for

 overseeing both the Immunizations Section and Communicable Diseases Section of IDPH.

        4.      IDPH recently received two award terminations from the U.S. Department of

 Health and Human Services, Centers for Disease Control and Prevention (CDC). The total value

 of the terminated awards over their lifetime was $1,436,227,132.56. CDC subsequently received

 another notice award regarding one of the terminated awards that indicated that the core funding

 under that grant would continue until the original program end date but that all COVID-19

 funding under the grant was terminated. All terminations were “for cause” based on the end of

 the COVID pandemic, rather than failure of IDPH to follow the terms or conditions of the grants.

 Each award termination uses the same identical form language stating that “[t]hese grants were

 issued for a limited purpose: To ameliorate the effects of the pandemic. The end of the pandemic

 provides cause to terminate COVID-related grants. Now that the pandemic is over, the grants are

 no longer necessary.” Descriptions of each award and the effects of these terminations follow.




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 Epidemiology & Laboratory Capacity for Infectious Diseases (ELC)

        5.      In 2020, the Department of Health and Human Services, Centers for Disease

 Control and Prevention invited applications for Epidemiology and Laboratory Capacity for

 Prevention and Control of Emergency Infectious Diseases (ELC) Grants.

        6.      The purpose of this initial grant was to broadly support all of IDPH’s disease

 surveillance, detection, and modeling activities.

        7.      Through multiple grant awards in 2020 and 2021, CDC approved hundreds of

 millions of dollars in additional funding as part of a preexisting grant award with a start date of

 August 1, 2019. Although the original term of the grant was set to end in July 2024, the grant

 was later extended into 2026.

        8.      At the time of the termination of the ELC Grant effective March 24, 2025, the

 CDC had previously produced a notice of award on October 18, 2023 setting forth the terms and

 conditions of the ELC Grant award. A true and correct copy of the corresponding notice of

 award and its attachments, is attached as Exhibit A.

        9.      Since 2020, IDPH has used the ELC Grant funds in a manner fully consistent with

 CDC’s statements regarding the nature of the grant and IDPH’s grant application.

        10.     IDPH has used the ELC Grant funds that CDC has terminated for a range of

 critical programs for disease surveillance, monitoring, and control. This includes funding IDPH

 laboratories that conduct testing and analysis, such as genetic sequencing, to monitor the

 development and spread of infectious diseases such as COVID-19, measles, influenza, and

 others. 22 full-time laboratory employees performing this work were being paid using ELC

 Grant funds. In addition, IDPH used ELC Grant funds to replace its electronic disease

 surveillance system, which relied on outdated software was no longer sufficient to monitor



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 outbreaks, particularly of various respiratory diseases such as RSV and influenza that are

 especially dangerous to children. IDPH is also supporting $14 million laboratory remodeling

 project at Southern Illinois University, for which purchases have already been made, with ELC

 Grant funds.

        11.     As of March 24, 2025, $380,358,865 of ELC Grant funds committed by CDC

 were remaining to be expended by the program end date of July 31, 2026. IDPH planned to draw

 on those funds to continue its essential infectious disease monitoring and surveillance operations,

 complete the replacement of its outdated electronic disease surveillance system, and support the

 building of new laboratory infrastructure.

        12.     IDPH has fully performed its obligations under the ELC Grant, including making

 all required submissions to CDC in a timely manner and complying with the terms and

 conditions of the grant award. Reflecting IDPH’s continued and demonstrated compliance with

 the ELC Grant’s terms, CDC had previously agreed to extend the ELC Grant after the original

 date on which the program was set to end.

        13.     Since IDPH began receiving the ELC Grant funding that CDC has terminated,

 CDC has issued guidance documents permitting and encouraging grant recipients to use that

 funding for various purposes that have a nexus to COVID-19 but that may also support broader

 infectious disease needs. This includes using funding for laboratory activities, data

 modernization, and epidemiology and disease prevention that relate to both COVID-19 and other

 infectious diseases.

        14.     On March 25, 2025, without any prior notice or indication, CDC informed IDPH

 that effective March 24, 2025, its ELC Grant had been terminated. A true and correct copy of the

 grant award termination notice is attached as Exhibit B.



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        15.     CDC’s purported basis for the ELC Grant termination was “the pandemic is over[

 and] the grants are no longer necessary.” CDC provided no further information or clarification

 about the basis for the termination of this grant.

        16.     IDPH relied and acted upon its expectation and understanding that CDC would

 fulfill its commitment to provide ELC Grant funding it had awarded to IDPH. For example,

 IDPH has already begun expending funds on the replacement of its outdated electronic disease

 surveillance system and on the development of a new laboratory for disease monitoring and

 testing. CDC’s abrupt termination of the ELC Grant threatens IDPH’s ability to complete these

 projects, which are critical to IDPH’s future epidemiological response to disease.

        17.     The termination of the ELC Grant undermines IDPH’s ability to fulfill its mission

 of protecting public health in Illinois. Employees who were being paid with this grant funding to

 perform critical epidemiological testing and analysis will have to be reassigned, and/or IDPH

 will have to divert its limited resources from other critical public health projects to continue

 supporting their work. The grant termination also jeopardizes IDPH’s ability to modernize its

 data gathering and laboratory infrastructure to meet current needs and address public health

 crises such as measles and influenza outbreaks in children.

        18.     Before the grant award termination on March 24, 2025, CDC had never provided

 IDPH with notice, written or otherwise, that IDPH’s administration or compliance with the terms

 of the ELC Grant was in any way unsatisfactory.

 Immunization Grant

        19.     In 2020, the Department of Health and Human Services, Centers for Disease

 Control and Prevention invited applications for Immunization Cooperative Agreements

 (Immunization) Grants.



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        20.     The purpose of the Immunization Grant was to support IDPH in establishing and

 maintaining preventive health service programs to immunize individuals against vaccine-

 preventable diseases.

        21.     Through multiple grant awards in 2020 and 2021, CDC approved hundreds of

 millions of dollars in funding for the Immunization Grant. Although the original term of the

 grant was set to end in June 2024, the grant was later extended through June 2025. At CDC’s

 encouragement, in January 2025 IDPH submitted an application for a no-cost extension of the

 Immunization Grant beyond June 2025, which CDC initially indicated would be approved.

        22.     At the time of the termination of the Immunization Grant effective March 24,

 2025, the CDC had previously produced a notice of award on June 27, 2024 setting forth the

 terms and conditions of the Immunization Grant. A true and correct copy of the corresponding

 notice of award and its attachments, is attached as Exhibit C.

        23.     Since 2020, IDPH has used the Immunization Grant funds in a manner fully

 consistent with CDC’s statements regarding the nature of the grant and IDPH’s grant application.

        24.     IDPH has used the Immunization Grant funds that CDC has terminated for a

 range of critical programs for vaccination, data analysis and tracking, maintaining an

 immunization registry, enrolling providers, and filling vacant positions relating to IDPH’s

 immunization efforts. These immunization efforts included programs designed to reach

 vulnerable and/or under-vaccinated populations.

        25.     As of March 24, 2025, $68,910,316.90 of Immunization Grant funds committed

 by CDC were remaining to be expended by the program end date of June 2025.

        26.     IDPH planned to draw on those funds to continue its immunization programs,

 which protect children and other vulnerable populations from the spread of infectious, vaccine-



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 preventable diseases. IDPH also sought to replace its existing immunization information system,

 as its current software is out of date and unable to meet the current data needs of IDPH.

        27.       IDPH has fully performed its obligations under the Immunization Grant,

 including making all required submissions to CDC in a timely manner and complying with the

 terms and conditions of the grant award. Reflecting IDPH’s continued and demonstrated

 compliance with the Immunization Grant’s terms, CDC had previously agreed to extend the

 Immunization Grant after the original date on which the program was set to end.

        28.       On March 25, 2025, without any prior notice or indication, CDC informed IDPH

 that effective March 24, 2025, its Immunization Grant had been terminated. A true and correct

 copy of the grant award termination notice is attached as Exhibit D.

        29.       CDC subsequently issued another notice of award on March 25, 2025, apparently

 reinstating a small amount of the funding under the Immunization Grant through the original end

 date of June 2025. IDPH remains unable to spend the $68,910,316.90 of Immunization Grant

 funds relating to “COVID-19 programs” for any services after the March 24, 2025 termination

 date, however.

        30.       CDC’s purported basis for the Immunization Grant termination was “the

 pandemic is over[ and] the grants are no longer necessary.” CDC provided no further

 information or clarification about the basis for the termination of this grant.

        31.       The termination of the Immunization Grant undermines IDPH’s ability to fulfill

 its mission of protecting public health in Illinois. Immunization Grant funds were used to assist

 with immunization and data-gathering efforts to support vaccination and infectious disease

 prevention among vulnerable populations throughout the state. In order to continue operating

 these programs, IDPH will have to divert its limited resources from other critical public health



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 projects to continue supporting their work. IDPH will also be unable to modernize its

 immunization information system to meet the agency’s data needs going forward.

        32.     Before the grant award termination on March 24, 2025, CDC had never provided

 IDPH with notice, written or otherwise, that IDPH’s administration or compliance with the terms

 of the Immunization Grant was in any way unsatisfactory.

        33.     The process by which CDC notified IDPH of the termination of both the ELC and

 Immunization Grants was unusual in that IDPH received notice on March 25, 2025 that the

 grants had been terminated a day earlier on March 24. In my experience, CDC has not sent a

 notice of immediate—let alone retroactive—termination of a grant without first announcing its

 intention to do so. In addition, CDC’s decision to terminate the Immunization Grant is unusual

 because CDC previously indicated its willingness and intention to extend the period of that grant.

 In my experience, in cases where CDC has indicated that it would extend a grant, it has not then

 elected to immediately terminate that same grant.

        34.     The abrupt termination of both the ELC and Immunization Grants significantly

 threatens IDPH’s public-health mission by undermining vital programs to monitor and control

 the spread of infectious diseases, including not only COVID-19 but many other illnesses like

 measles, influenza, and RSV. As a result, individuals across Illinois face heightened risks from

 the spread of infectious diseases.



       I declare under penalty of perjury under the laws of the United States that, to the best of

 my knowledge, the foregoing is true and correct.

                Executed on March 28, 2025, in Chicago, Illinois.




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                                   _____________________________________
                                         Heidi Clark




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                             Exhibit A
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                DEPARTMENT OF HEALTH AND HUMAN
                                           #: 1778SERVICES      Notice of Award
                                                                                                   Award# 6 NU50CK000559-05-02
                Centers for Disease Control and Prevention
                                                                                                   FAIN# NU50CK000559
                                                                                                   Federal Award Date: 10/18/2023



Recipient Information                                                        Federal Award Information
1. Recipient Name                                11. Award Number
   DEPARTMENT OF PUBLIC HEALTH ILLINOIS             6 NU50CK000559-05-02
                                                 12. Unique Federal Award Identification Number (FAIN)
   535 W Jefferson St
                                                    NU50CK000559
   -DUP5                                         13. Statutory Authority
   Springfield, IL 62761                            301(A)AND317(K)(2)PHS42USC241(A)247B(K)2
   [NO DATA]
                                                 14. Federal Award Project Title
2. Congressional District of Recipient              CK19-1904 Epidemiology and Laboratory Capacity for Prevention and Control of Emerging Infectious
   00                                               Diseases (ELC)
3. Payment System Identifier (ID)
   1010632628A1                                  15. Assistance Listing Number
4. Employer Identification Number (EIN)             93.323
   010632628
                                                 16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)           Epidemiology and Laboratory Capacity for Infectious Diseases (ELC)
   806660296
6. Recipient’s Unique Entity Identifier (UEI)    17. Award Action Type
   NN66PR7QMLR8                                     No Cost Extension
7. Project Director or Principal Investigator    18. Is the Award R&D?
                                                    No
   Ms. Carolyn Haberman
   Carolyn.haberman@illinois.gov                              Summary Federal Award Financial Information
   217-558-2611
                                                 19. Budget Period Start Date         08/01/2023 - End Date 07/31/2026

                                                 20. Total Amount of Federal Funds Obligated by this Action                                       $0.00
8. Authorized Official
                                                     20a. Direct Cost Amount                                                                      $0.00
   Ms. Nicole Hildebrand                             20b. Indirect Cost Amount                                                                    $0.00
   CFO, Deputy Director, Office of Finance and
                                                 21. Authorized Carryover                                                                         $0.00
   Administration
   nicole.hildebrand@illinois.gov                22. Offset                                                                              $1,493,592.00
   217-558-0264                                  23. Total Amount of Federal Funds Obligated this budget period                          $2,323,738.00
Federal Agency Information
                                                 24. Total Approved Cost Sharing or Matching, where applicable                                    $0.00
 CDC Office of Financial Resources
                                                 25. Total Federal and Non-Federal Approved this Budget Period                           $2,323,738.00
9. Awarding Agency Contact Information           26. Period of Perfomance Start Date 08/01/2019 - End Date 07/31/2026
 Ryan Smythe
                                                 27. Total Amount of the Federal Award including Approved
 Grants Management Specialist
                                                     Cost Sharing or Matching this Period of Performance                             $1,291,372,341.00
 lyt6@cdc.gov
 (770) 488-3629
                                                 28. Authorized Treatment of Program Income
10.Program Official Contact Information              ADDITIONAL COSTS
 Namita Agravat
                                                 29. Grants Management Officer – Signature
 Program Officer
                                                      Karen Zion1
 nfk0@cdc.gov
                                                      Grants Management Officer
 6784310843



30. Remarks




                                                                                                                                          Page 1
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             DEPARTMENT OF HEALTH AND HUMAN
                                        #: 1779SERVICES      Notice of Award
             Centers for Disease Control and Prevention                                             Award# 6 NU50CK000559-05-02
                                                                                                    FAIN# NU50CK000559
                                                                                                    Federal Award Date: 10/18/2023



Recipient Information                                     33. Approved Budget
                                                          (Excludes Direct Assistance)
Recipient Name                                             I. Financial Assistance from the Federal Awarding Agency Only
 DEPARTMENT OF PUBLIC HEALTH ILLINOIS                      II. Total project costs including grant funds and all other financial participation
 535 W Jefferson St                                       a. Salaries and Wages                                                    $1,420,063.00
 -DUP5
                                                          b. Fringe Benefits                                                       $1,219,424.00
 Springfield, IL 62761
 [NO DATA]                                                     c. Total Personnel Costs                                            $2,639,487.00
                                                          d. Equipment                                                                    $0.00
Congressional District of Recipient
 00                                                       e. Supplies                                                               $465,440.00
Payment Account Number and Type                           f. Travel                                                                  $27,770.00
 1010632628A1
Employer Identification Number (EIN) Data                 g. Construction                                                                 $0.00
 010632628                                                h. Other                                                                   $72,905.00
Universal Numbering System (DUNS)
                                                          i. Contractual                                                            $430,101.00
 806660296
Recipient’s Unique Entity Identifier (UEI)                j. TOTAL DIRECT COSTS                                                   $3,635,703.00
 NN66PR7QMLR8
                                                          k. INDIRECT COSTS                                                         $181,627.00

 31. Assistance Type                                      l. TOTAL APPROVED BUDGET                                                $3,817,330.00
 Cooperative Agreement
                                                          m. Federal Share                                                        $3,817,330.00
 32. Type of Award
 Other                                                    n. Non-Federal Share                                                            $0.00


 34. Accounting Classification Codes

FY-ACCOUNT NO.            DOCUMENT NO.        ADMINISTRATIVE CODE   OBJECT CLASS CFDA NO.    AMT ACTION FINANCIAL ASSISTANCE APPROPRIATION
   0-9390ESY             19NU50CK000559CV             CK                41.51     93.323                                 $0.00 75-2022-0943
   0-9390EPX             19NU50CK000559CV             CK                41.51     93.323                                 $0.00 75-2022-0943
    0-9390F7F            19NU50CK000559C4             CK                41.51     93.323                                 $0.00  75-X-0140
   1-9390GKT          19NU50CK000559EDEXC5            CK                41.51     93.323                                 $0.00 75-2122-0140
    1-9390H08         19NU50CK000559AMD2C6            CK                41.51     93.323                                 $0.00  75-X-0943
   1-9390EWQ          19NU50CK000559DMODC3            CK                41.51     93.323                                 $0.00 75-2024-0943
    2-9390J4P          19NU50CK000559SHRPC6           CK                41.51     93.323                                 $0.00  75-X-0140
    1-9390GJ9         19NU50CK000559NWSSC4            CK                41.51     93.323                                 $0.00  75-X-0140
    1-9390GF6          19NU50CK000559PHL2C6           CK                41.51     93.323                                 $0.00  75-X-0140
   0-9390EWQ             19NU50CK000559C3             CK                41.51     93.323                                 $0.00 75-2024-0943
    2-9390JXH          19NU50CK000559LDXC6            CK                41.51     93.323                                 $0.00  75-X-0140
    2-9390JEN         19NU50CK000559NWSSC6            CK                41.51     93.323                                 $0.00  75-X-0140




                                                                                                                                       Page 2
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                  DEPARTMENT OF HEALTH AND HUMAN
                                            #: 1780 SERVICES Notice of Award
                                                                                             Award# 6 NU50CK000559-05-02
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NU50CK000559
                                                                                             Federal Award Date: 10/18/2023




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




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                                       #: 1781
                              AWARD ATTACHMENTS
DEPARTMENT OF PUBLIC HEALTH ILLINOIS                               6 NU50CK000559-05-02
1. Terms and Conditions NCE
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ADDITIONAL TERMS AND CONDITIONS OF AWARD

No Cost Extension: The purpose of this amendment is to approve a 24 months No Cost Extension
per the request submitted by your organization dated September 21, 2023 . The budget and project
period end dates have been extended from August 1, 2024 to July 31, 2026.

Annual Federal Financial Report (FFR SF-425): Annual financial reporting is required every twelve-
month period. Due to the approved extension period, the final budget period has been extended and
an additional annual financial report will be required. A completed FFR SF-425 covering the original
final budget period of August 1, 2023 to July 31, 2026 must be submitted by October 31, 2026.

Recipients must submit all closeout reports identified in this section within 90 days of the period of
performance end date. The reporting timeframe is the full period of performance. Failure to submit
timely and accurate final reports may affect future funding to the organization or awards under the
direction of the same Project Director/Principal Investigator (PD/PI).

Final Performance Progress and Evaluation Report (PPER): This report should include the
information specified in the NOFO. At a minimum, the report will include the following:

•    Statement of progress made toward the achievement of originally stated aims.
•    Description of results (positive or negative) considered significant.
•    List of publications resulting from the project, with plans, if any, for further publication.

All manuscripts published as a result of the work supported in part or whole by the cooperative grant
must be submitted with the performance progress reports.

Final Federal Financial Report (FFR, SF-425): The FFR should only include those funds
authorized and actually expended during the timeframe covered by the report. The Final FFR, SF-
425 is required and must be submitted no later than 90 days after the period of performance end
date.

The final report must indicate the exact balance of unobligated funds and may not reflect any
unliquidated obligations. Should the amount not match with the final expenditures reported to the
Department of Health and Human Services’ PMS, you will be required to update your reports to PMS
accordingly. Remaining unobligated funds will be de-obligated and returned to the U.S. Treasury.

Electronic versions of the FFR SF-425 can be downloaded at:
https://www.grants.gov/web/grants/forms/post-award-reporting-forms.html#sortby=1

Equipment and Supplies - Tangible Personal Property Report (SF-428): A completed Tangible
Personal Property Report SF-428 and Final Report SF-428B addendum must be submitted, along
with any Supplemental Sheet SF-428S detailing all major equipment acquired or furnished under this
project with a unit acquisition cost of $5,000 or more. Electronic versions of the forms can be
downloaded by visiting: https://www.grants.gov/web/grants/forms/post-award-reporting-
forms.html#sortby=1

If no equipment was acquired under an award, a negative report is required.

The recipient must identify each item of equipment that it wishes to retain for continued use in
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accordance with 45 CFR Part 75. The awarding agency may exercise its rights to require the transfer
of equipment purchased under the assistance award. CDC will notify the recipient if transfer to title
will be required and provide disposition instruction on all major equipment.

Equipment with a unit acquisition cost of less than $5,000 that is no longer to be used in projects or
programs currently or previously sponsored by the Federal Government may be retained, sold, or
otherwise disposed of, with no further obligation to the Federal Government.
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                             Exhibit B
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                DEPARTMENT OF HEALTH AND HUMAN
                                           #: 1785SERVICES      Notice of Award
                                                                                                     Award# 6 NU50CK000559-05-18
                Centers for Disease Control and Prevention
                                                                                                     FAIN# NU50CK000559
                                                                                                     Federal Award Date: 03/24/2025



Recipient Information                                                          Federal Award Information
1. Recipient Name                                  11. Award Number
   DEPARTMENT OF PUBLIC HEALTH ILLINOIS               6 NU50CK000559-05-18
                                                   12. Unique Federal Award Identification Number (FAIN)
   535 W Jefferson St
                                                      NU50CK000559
   -DUP5                                           13. Statutory Authority
   Springfield, IL 62761                              301(A)AND317(K)(2)PHS42USC241(A)247B(K)2
   [NO DATA]
                                                   14. Federal Award Project Title
2. Congressional District of Recipient                CK19-1904 Epidemiology and Laboratory Capacity for Prevention and Control of Emerging Infectious
   00                                                 Diseases (ELC)
3. Payment System Identifier (ID)
   1010632628A1                                    15. Assistance Listing Number
4. Employer Identification Number (EIN)               93.323
   010632628
                                                   16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)             Epidemiology and Laboratory Capacity for Infectious Diseases (ELC)
   806660296
6. Recipient’s Unique Entity Identifier (UEI)      17. Award Action Type
   NN66PR7QMLR8                                       Administrative Action
7. Project Director or Principal Investigator      18. Is the Award R&D?
                                                      No
    Jonathan Popovitch
   Assistant Section Chief, Communicable Disease                Summary Federal Award Financial Information
   Section
                                                   19. Budget Period Start Date         08/01/2023 - End Date 03/24/2025
   jonathan.popovitch@illinois.gov
   217-782-2016 Official                           20. Total Amount of Federal Funds Obligated by this Action                                       $0.00
8. Authorized
                                                       20a. Direct Cost Amount                                                                      $0.00
   Ms. Nicole Hildebrand                               20b. Indirect Cost Amount                                                                    $0.00
   CFO, Deputy Director, Office of Finance and
                                                   21. Authorized Carryover                                                               $40,805,308.00
   Administration
   nicole.hildebrand@illinois.gov                  22. Offset                                                                              $1,493,592.00
   217-993-2367                                    23. Total Amount of Federal Funds Obligated this budget period                         $10,333,854.00
Federal Agency Information
                                                   24. Total Approved Cost Sharing or Matching, where applicable                                    $0.00
 CDC Office of Financial Resources
                                                   25. Total Federal and Non-Federal Approved this Budget Period                          $10,333,854.00
9. Awarding Agency Contact Information             26. Period of Performance Start Date 08/01/2019 - End Date 03/24/2025
 Whitney Dade
                                                   27. Total Amount of the Federal Award including Approved
 Grants Management Specialist
                                                       Cost Sharing or Matching this Period of Performance                             $1,162,902,503.56
 zmm8@cdc.gov
 4044983038
                                                   28. Authorized Treatment of Program Income
10.Program Official Contact Information                ADDITIONAL COSTS
 Aaron Borrelli
                                                   29. Grants Management Officer – Signature
 Public Health Advisor
                                                        Percy Jernigan
 zvt3@cdc.gov
 4046398715



30. Remarks
 Department Authority




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             DEPARTMENT OF HEALTH AND HUMAN
                                        #: 1786SERVICES      Notice of Award
             Centers for Disease Control and Prevention                                        Award# 6 NU50CK000559-05-18
                                                                                               FAIN# NU50CK000559
                                                                                               Federal Award Date: 03/24/2025



Recipient Information                                33. Approved Budget
                                                     (Excludes Direct Assistance)
Recipient Name                                        I. Financial Assistance from the Federal Awarding Agency Only
 DEPARTMENT OF PUBLIC HEALTH ILLINOIS                 II. Total project costs including grant funds and all other financial participation
 535 W Jefferson St                                   a. Salaries and Wages                                                    $10,358,256.00
 -DUP5
                                                      b. Fringe Benefits                                                        $9,350,588.00
 Springfield, IL 62761
 [NO DATA]                                                c. Total Personnel Costs                                             $19,708,844.00
                                                      d. Equipment                                                              $1,535,074.00
Congressional District of Recipient
 00                                                   e. Supplies                                                               $5,487,269.00
Payment Account Number and Type                       f. Travel                                                                    $87,448.00
 1010632628A1
Employer Identification Number (EIN) Data             g. Construction                                                                   $0.00
 010632628                                            h. Other                                                                  $1,388,754.00
Universal Numbering System (DUNS)
                                                      i. Contractual                                                           $22,643,135.00
 806660296
Recipient’s Unique Entity Identifier (UEI)            j. TOTAL DIRECT COSTS                                                    $50,850,524.00
 NN66PR7QMLR8
                                                      k. INDIRECT COSTS                                                         $1,782,230.00

 31. Assistance Type                                  l. TOTAL APPROVED BUDGET                                                 $52,632,754.00
 Cooperative Agreement
                                                      m. Federal Share                                                         $52,632,754.00
 32. Type of Award
 Other                                                n. Non-Federal Share                                                              $0.00


 34. Accounting Classification Codes

 FY-ACCOUNT              DOCUMENT NO.    ADMINISTRATIVE     OBJECT         ASSISTANCE           AMT ACTION FINANCIAL           APPROPRIATION
      NO.                                    CODE           CLASS            LISTING                 ASSISTANCE
  0-9390EWQ         19NU50CK000559C3           CK            41.51            93.323                                   $0.00      75-2024-0943
   0-9390F7F        19NU50CK000559C4           CK            41.51            93.323                                   $0.00       75-X-0140
  1-9390GKT       19NU50CK000559EDEXC5         CK            41.51            93.323                                   $0.00      75-2122-0140




                                                                                                                                     Page 2
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                  DEPARTMENT OF HEALTH AND HUMAN
                                            #: 1787 SERVICES Notice of Award
                                                                                             Award# 6 NU50CK000559-05-18
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NU50CK000559
                                                                                             Federal Award Date: 03/24/2025




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




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                                         #: 1788
                               AWARD ATTACHMENTS
DEPARTMENT OF PUBLIC HEALTH ILLINOIS                                 6 NU50CK000559-05-18
1. REVISED: TERMS AND CONDITIONS
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                                              #: 1789


 TERMS AND CONDITIONS OF AWARD



 Termination: The purpose of this amendment is to terminate the use of any remaining COVID-19 funding
 associated with this award. The termination of this funding is for cause. HHS regulations permit
 termination if “the non-Federal entity fails to comply with the terms and conditions of the award”, or
 separately, “for cause.” The end of the pandemic provides cause to terminate COVID-related grants and
 cooperative agreements. These grants and cooperative agreements were issued for a limited purpose: to
 ameliorate the effects of the pandemic. Now that the pandemic is over, the grants and cooperative
 agreements are no longer necessary as their limited purpose has run out. Termination of use of funding
 under the listed document number(s) is effective as of the date set out in your Notice of Award.

 Impacted document numbers are included on page 2 of this Notice of Award (NoA).

 No additional activities can be conducted, and no additional costs may be incurred, as it relates to these
 funds. Unobligated award balances of COVID-19 funding will be de-obligated by CDC. Award activities
 under other funding may continue consistent with the terms and conditions of the award.

 Final Federal Financial Report (FFR, SF-425): Within 30 days please submit final FFR’s for impacted
 document numbers. The FFR should only include those funds authorized and expended during the
 timeframe covered by the report. The final report must indicate the exact balance of unobligated funds
 and may not reflect any unliquidated obligations. Should the amount not match with the final
 expenditures reported to the Payment Management System (PMS), you will be required to update your
 reports to PMS accordingly.

 All other terms and conditions of this award remain in effect.
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                                   #: 1790




                             Exhibit C
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                DEPARTMENT OF HEALTH AND HUMAN
                                           #: 1791SERVICES      Notice of Award
                                                                                                     Award# 6 NH23IP922637-05-08
                Centers for Disease Control and Prevention
                                                                                                     FAIN# NH23IP922637
                                                                                                     Federal Award Date: 06/27/2024



Recipient Information                                                          Federal Award Information
1. Recipient Name                                11. Award Number
   DEPARTMENT OF PUBLIC HEALTH ILLINOIS             6 NH23IP922637-05-08
                                                 12. Unique Federal Award Identification Number (FAIN)
   535 W Jefferson St Lbby
                                                    NH23IP922637
   Springfield, IL 62702-5058                    13. Statutory Authority
   [NO DATA]                                        Sections 317, 317(k)(2) of the Public Health Service Act (42 U.S.C. Sections 247b, 247b(k)(2) and 247c), as
                                                    amended.
                                                 14. Federal Award Project Title
2. Congressional District of Recipient              Immunization and Vaccines for Children
   13
3. Payment System Identifier (ID)
   1010632628A1                                  15. Assistance Listing Number
4. Employer Identification Number (EIN)             93.268
   010632628
                                                 16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)           Immunization Cooperative Agreements
   806660296
6. Recipient’s Unique Entity Identifier (UEI)    17. Award Action Type
   NN66PR7QMLR8                                     Supplement
7. Project Director or Principal Investigator    18. Is the Award R&D?
                                                    No
    Karyn Lyons
   Immunizations Program Manager                              Summary Federal Award Financial Information
   karyn.lyons@illinois.gov
                                                 19. Budget Period Start Date           07/01/2023 - End Date 06/30/2025
   2177851455
                                                 20. Total Amount of Federal Funds Obligated by this Action                                  $10,344,078.00
8. Authorized Official
                                                     20a. Direct Cost Amount                                                                 $12,277,040.00
   Ms. Nicole Hildebrand                             20b. Indirect Cost Amount                                                                $1,070,746.00
   CFO, Deputy Director, Office of Finance and
                                                 21. Authorized Carryover                                                                   $102,560,869.00
   Administration
   nicole.hildebrand@illinois.gov                22. Offset                                                                                   $5,429,584.00
   217-558-0264                                  23. Total Amount of Federal Funds Obligated this budget period                              $17,413,601.00
Federal Agency Information
                                                 24. Total Approved Cost Sharing or Matching, where applicable                                         $0.00
 CDC Office of Financial Resources
                                                 25. Total Federal and Non-Federal Approved this Budget Period                               $27,757,679.00
9. Awarding Agency Contact Information           26. Period of Performance Start Date 07/01/2019 - End Date 06/30/2025
 Wayne Woods
                                                 27. Total Amount of the Federal Award including Approved
 kuv1@cdc.gov
                                                     Cost Sharing or Matching this Period of Performance                                    $272,324,629.00
 770-488-2948


                                                 28. Authorized Treatment of Program Income
10.Program Official Contact Information              ADDITIONAL COSTS
 James Lueken
                                                 29. Grants Management Officer – Signature
 Program Officer
                                                      Kathy Raible
 oqh7@cdc.gov
 4047187232



30. Remarks




                                                                                                                                               Page 1
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             DEPARTMENT OF HEALTH AND HUMAN
                                        #: 1792SERVICES      Notice of Award
             Centers for Disease Control and Prevention                                           Award# 6 NH23IP922637-05-08
                                                                                                  FAIN# NH23IP922637
                                                                                                  Federal Award Date: 06/27/2024



Recipient Information                                   33. Approved Budget
                                                        (Excludes Direct Assistance)
Recipient Name                                           I. Financial Assistance from the Federal Awarding Agency Only
 DEPARTMENT OF PUBLIC HEALTH ILLINOIS                    II. Total project costs including grant funds and all other financial participation
 535 W Jefferson St Lbby                                a. Salaries and Wages                                                    $6,592,565.00
 Springfield, IL 62702-5058
                                                        b. Fringe Benefits                                                       $6,063,691.00
 [NO DATA]
                                                             c. Total Personnel Costs                                           $12,656,256.00
                                                        d. Equipment                                                                     $0.00
Congressional District of Recipient
 13                                                     e. Supplies                                                                 $73,056.00
Payment Account Number and Type                         f. Travel                                                                 $528,366.00
 1010632628A1
Employer Identification Number (EIN) Data               g. Construction                                                                  $0.00
 010632628                                              h. Other                                                                 $2,963,573.00
Universal Numbering System (DUNS)
                                                        i. Contractual                                                         $117,817,245.00
 806660296
Recipient’s Unique Entity Identifier (UEI)              j. TOTAL DIRECT COSTS                                                 $134,038,496.00
 NN66PR7QMLR8
                                                        k. INDIRECT COSTS                                                       $1,709,636.00

 31. Assistance Type                                    l. TOTAL APPROVED BUDGET                                              $135,748,132.00
 Cooperative Agreement
                                                        m. Federal Share                                                      $135,748,132.00
 32. Type of Award
 Other                                                  n. Non-Federal Share                                                            $0.00


 34. Accounting Classification Codes

FY-ACCOUNT NO.          DOCUMENT NO.       ADMINISTRATIVE CODE   OBJECT CLASS CFDA NO.    AMT ACTION FINANCIAL ASSISTANCE APPROPRIATION
    1-93909KZ           19NH23IP922637              IP               41.51     93.268                                    $0.00     75-X-0951
   1-9390BKG            19NH23IP922637              IP               41.51     93.268                                    $0.00 75-75-X-0512-009
    1-9390BKJ           19NH23IP922637              IP               41.51     93.268                                    $0.00 75-75-X-0512-009
   1-9390BKM            19NH23IP922637              IP               41.51     93.268                                    $0.00 75-75-X-0512-009
   1-939ZRWL            19NH23IP922637              IP               41.51     93.268                                    $0.00    75-21-0951
   0-9390EWQ           19NH23IP922637C3             IP               41.51     93.268                                    $0.00   75-2024-0943
    1-9390FG3          20NH23IP922637C3             IP               41.51     93.268                                    $0.00   75-2024-0943
   1-9390GKL           20NH23IP922637C5             IP               41.51     93.268                                    $0.00   75-2124-0943
   1-9390GUU        20NH23IP922637UDSPC5            IP               41.51     93.268                                    $0.00   75-2124-0943
   1-9390GWA           20NH23IP922637C6             IP               41.51     93.268                                    $0.00     75-X-0943
   1-9390GZB        20NH23IP922637VWCC6             IP               41.51     93.268                                    $0.00     75-X-0943
   2-9390BKG            19NH23IP922637              IP               41.51     93.268                                    $0.00 75-75-X-0512-009
    2-9390BKJ           19NH23IP922637              IP               41.51     93.268                                    $0.00 75-75-X-0512-009
   2-9390BKM            19NH23IP922637              IP               41.51     93.268                                    $0.00 75-75-X-0512-009
    2-9390K3F           19NH23IP922637              IP               41.51     93.268                                    $0.00     75-X-0951
   2-9390K3G            19NH23IP922637              IP               41.51     93.268                                    $0.00     75-X-0951
   2-939ZRWL            19NH23IP922637              IP               41.51     93.268                                    $0.00    75-22-0951
   2-9390K8W          20NH23IP922637UKR             IP               41.51     93.268                                    $0.00   75-2223-0943
   2-9390K9M         20NH23IP922637IISC6            IP               41.51     93.268                                    $0.00     75-X-0943
   3-9390BKG            19NH23IP922637              IP               41.51     93.268                                    $0.00 75-75-X-0512-009
    3-9390BKJ           19NH23IP922637              IP               41.51     93.268                                    $0.00 75-75-X-0512-009
   3-9390BKM            19NH23IP922637              IP               41.51     93.268                                    $0.00 75-75-X-0512-009
    3-9390K3F           19NH23IP922637              IP               41.51     93.268                                    $0.00     75-X-0951
   3-939ZRWL            19NH23IP922637              IP               41.51     93.268                                    $0.00    75-23-0951
    3-9390LR9           19NH23IP922637              IP               41.51     93.268                                    $0.00     75-X-0140
   3-939ZRYH            19NH23IP922637              IP               41.51     93.268                                    $0.00    75-23-0951
   4-9390MV2         20NH23IP922637IISC5            IP               41.51     93.268                                    $0.00   75-2124-0943
   4-9390BKG            19NH23IP922637              IP               41.51     93.268                            $1,313,657.00 75-75-X-0512-009
    4-9390BKJ           19NH23IP922637              IP               41.51     93.268                              $122,345.00 75-75-X-0512-009
   4-9390BKM            19NH23IP922637              IP               41.51     93.268                            $1,726,720.00 75-75-X-0512-009



                                                                                                                                     Page 2
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          DEPARTMENT OF HEALTH AND HUMAN
                                    #: 1793 SERVICES Notice of Award
                                                                                               Award# 6 NH23IP922637-05-08
          Centers for Disease Control and Prevention
                                                                                               FAIN# NH23IP922637
                                                                                               Federal Award Date: 06/27/2024


FY-ACCOUNT NO.     DOCUMENT NO.        ADMINISTRATIVE CODE   OBJECT CLASS   CFDA NO.   AMT ACTION FINANCIAL ASSISTANCE      APPROPRIATION
   4-9390MPT       19NH23IP922637               IP               41.51       93.268                           $5,340,768.00    75-X-0951
   4-9390MV2     19NH23IP922637IISC5            IP               41.51       93.268                             $612,592.00   75-2124-0943
   4-939ZRWL       19NH23IP922637               IP               41.51       93.268                             $522,359.00    75-24-0951
   4-939ZRYH       19NH23IP922637               IP               41.51       93.268                             $705,637.00    75-X-0951




                                                                                                                                 Page 3
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                  DEPARTMENT OF HEALTH AND HUMAN
                                            #: 1794 SERVICES Notice of Award
                                                                                             Award# 6 NH23IP922637-05-08
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NH23IP922637
                                                                                             Federal Award Date: 06/27/2024




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                      $0.00                             $0.00
Fringe Benefits                                                  $0.00                      $0.00                             $0.00
Travel                                                           $0.00                 $11,131.00                        $11,131.00
Equipment                                                        $0.00                      $0.00                             $0.00
Supplies                                                         $0.00                      $0.00                             $0.00
Contractual                                                      $0.00                      $0.00                             $0.00
Construction                                                     $0.00                      $0.00                             $0.00
Other                                                            $0.00                      $0.00                             $0.00
Total                                                            $0.00                 $11,131.00                        $11,131.00




                                                                                                                               Page 4
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                                       #: 1795
                            AWARD ATTACHMENTS
DEPARTMENT OF PUBLIC HEALTH ILLINOIS                                6 NH23IP922637-05-08
1. Terms and Conditions
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 Supplemented Extension: The purpose of this amendment is to approve a 6-month extension
 with supplemental funds per the request submitted by your organization dated April 8, 2024.
 The budget and project period end dates have been extended from December 31, 2024, to June
 30, 2025.

 Additional funds in the amount of $13,347,786 are authorized and have been distributed as
 indicated in the approved budget of this Notice of Award.

 This amount includes offset, please see Use of Unobligated Funds below.

 Approved Component/Project Funding: The NOFO provides for the funding of multiple
 components under this award. For this NOA, the approved funding level for each component is
 shown below:

  NOFO Component                   Amount
  CORE                             $12,735,194
  IIS                              $612,592


 Coronavirus Disease 2019 (COVID-19) Funds: A recipient of a grant or cooperative agreement
 awarded by the Department of Health and Human Services (HHS) with funds made available
 under the Coronavirus Preparedness and Response Supplemental Appropriations Act, 2020 (P.L.
 116-123); the Coronavirus Aid, Relief, and Economic Security Act, 2020 (the “CARES Act”) (P.L.
 116-136); the Paycheck Protection Program and Health Care Enhancement Act (P.L. 116-139);
 the Consolidated Appropriations Act and the Coronavirus Response and Relief Supplement
 Appropriations Act, 2021 (P.L. 116-260) and/or the American Rescue Plan of 2021 [P.L. 117-2]
 agrees, as applicable to the award, to: 1) comply with existing and/or future directives and
 guidance from the Secretary regarding control of the spread of COVID-19; 2) in consultation and
 coordination with HHS, provide, commensurate with the condition of the individual, COVID-19
 patient care regardless of the individual’s home jurisdiction and/or appropriate public health
 measures (e.g., social distancing, home isolation); and 3) assist the United States Government in
 the implementation and enforcement of federal orders related to quarantine and isolation.

 Further, consistent with the full scope of applicable grant regulations (45 C.F.R. 75.322), the
 purpose of this award, and the underlying funding, the recipient is expected to provide to CDC
 copies of and/or access to COVID-19 data collected with these funds, including but not limited to
 data related to COVID-19 testing. CDC will specify in further guidance and directives what is
 encompassed by this requirement.

 This award is contingent upon agreement by the recipient to comply with existing and future
 guidance from the HHS Secretary regarding control of the spread of COVID-19. In addition,
 recipient is expected to flow down these terms to any subaward, to the extent applicable to
 activities set out in such subaward.

 Summary Statement/Technical Review: Within 5 days of this Notice of Award’s (NOA) issue
 date, the Summary Statement/Technical Review will be accessible to the recipient in
 GrantSolutions Grant Notes. Contact the assigned Program Officer indicated in the NOA with
 any questions regarding this document or any follow up requirements and timelines set forth
 therein.
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 Direct Assistance (DA): The DA award amount is shown on page 3 of the NOA for $11,131
 (DA Travel- $11,131) in this budget period.

 Use of Unobligated Funds: This NOA includes use of Year 04 unobligated funds in the
 amount of $3,003,708, which has been applied as an offset to the currently approved funding
 level for this budget period. The use of unobligated funds is approved based on the Year 04
 Federal Financial Report (FFR) dated September 26, 2023. The amount of this NOA will be
 subject to reduction if the final amount of unobligated funds is less than the amount of
 unobligated funds reported on the referenced FFR.

 Budget Revision Requirement: By September 30, 2024, the recipient must submit a revised
 budget with a narrative justification. Failure to submit the required information in a timely
 manner may adversely affect the future funding of this project. If the information cannot be
 provided by the due date, you are required to contact the GMS/GMO identified in the CDC Staff
 Contacts section of this notice before the due date.

 Administrative Requirements: The recipient must respond to the information below in the
 budget revision:

               •     Personnel: Provide names of TBD staff upon selection.
               •     Other Costs: Provide an appropriate cost itemization in
                     accordance with the CDC Budget Preparation Guidelines for the
                     following:

               I.       Conference Registration Fees- $10,000 (CORE Funding)
               II.      Office Supplies- $5,425 (Adult IZ Framework)

 Missing Contractual/Consultant Elements – The contracts listed below is not approved and
 the recipient may not begin the contract until a detailed budget is provided via GrantSolutions as
 a Notification of a Contractor or Consultant Amendment and GMO approval is provided via
 Notice of Award.

                                     CORE Funding
 Contractor 1: Coverage Level Grants -TBA- $1,000,000

                            HHS Bridge Access Program
 Contractor 1: Community Based Organizations – TBA- $1,978,670

                                  Adult IZ Framework
 Contractor 1: TBA Contractor-$135,000

 Provide names of TBD Contractors upon selection.

  FUNDING RESTRICTIONS AND LIMITATIONS

 Indirect Costs: Indirect costs are not approved for this award, because the submitted rate
 agreement expired on June 30, 2023. Indirect costs in the amount of $638,890 have been
 moved to the "Other" cost category. To have indirect costs approved for this grant, create an
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                                           #: 1798


  amendment (select NGA Revision as amendment type) and submit a copy of the approved
  indirect cost rate agreement.

  PAYMENT INFORMATION

 Payment Management System Subaccount: Funds awarded in support of approved activities
 have been obligated in a subaccount in the PMS, herein identified as the “P Account”. Funds
 must be used in support of approved activities in the NOFO and the approved application.

 The grant document numbers identified beginning on the bottom of Page 2 of the Notice of Award
 must be known in order to draw down funds.

  ADDITIONAL REPORTING REQUIREMENTS

 Annual Federal Financial Report (FFR SF-425): Annual financial reporting is required every
 twelve-month period. Due to the approved extension period, the final budget period has been
 extended and an additional annual financial report will be required. A completed FFR SF-425
 covering the original final budget period of July 1, 2023, to June 30, 2024, must be submitted by
 September 30, 2024.

 Recipients must submit all closeout reports identified in this section within 120 days of the
 period of performance end date. The reporting timeframe is the full period of performance.
 Failure to submit timely and accurate final reports may affect future funding to the organization
 or awards under the direction of the same Project Director/Principal Investigator (PD/PI).

 Final Performance Progress and Evaluation Report (PPER): This report should include the
 information specified in the NOFO. At a minimum, the report will include the following:

         •   Statement of progress made toward the achievement of originally stated aims.
         •   Description of results (positive or negative) considered significant.
         •   List of publications resulting from the project, with plans, if any, for further
             publication.

 All manuscripts published as a result of the work supported in part or whole by the cooperative
 grant must be submitted with the performance progress reports.

 Final Federal Financial Report (FFR, SF-425): The FFR should only include those funds
 authorized and actually expended during the timeframe covered by the report. The Final FFR,
 SF-425 is required and must be submitted no later than 120 days after the period of
 performance end date.

 The final report must indicate the exact balance of unobligated funds and may not reflect any
 unliquidated obligations. Should the amount not match with the final expenditures reported to
 the Department of Health and Human Services’ PMS, you will be required to update your
 reports to PMS accordingly. Remaining unobligated funds will be de-obligated and returned to
 the U.S. Treasury.

 Electronic versions of the form can be downloaded at:
 https://www.grants.gov/web/grants/forms/post-award-reporting-forms.html#sortby=1
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 Equipment and Supplies - Tangible Personal Property Report (SF-428): A completed
 Tangible Personal Property Report SF-428 and Final Report SF-428B addendum must be
 submitted, along with any Supplemental Sheet SF-428S detailing all major equipment acquired
 or furnished under this project with a unit acquisition cost of $5,000 or more. Electronic
 versions of the forms can be downloaded by visiting:
 https://www.grants.gov/web/grants/forms/post-award-reporting-forms.html#sortby=1

 If no equipment was acquired under an award, a negative report is required.

 The recipient must identify each item of equipment that it wishes to retain for continued use in
 accordance with 45 CFR Part 75. The awarding agency may exercise its rights to require the
 transfer of equipment purchased under the assistance award. CDC will notify the recipient if
 transfer to title will be required and provide disposition instruction on all major equipment.

 Equipment with a unit acquisition cost of less than $5,000 that is no longer to be used in
 projects or programs currently or previously sponsored by the Federal Government may be
 retained, sold, or otherwise disposed of, with no further obligation to the Federal Government.
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                                   #: 1800




                             Exhibit D
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                DEPARTMENT OF HEALTH AND HUMAN
                                           #: 1801SERVICES      Notice of Award
                                                                                                     Award# 6 NH23IP922637-05-12
                Centers for Disease Control and Prevention
                                                                                                     FAIN# NH23IP922637
                                                                                                     Federal Award Date: 03/24/2025



Recipient Information                                                          Federal Award Information
1. Recipient Name                                11. Award Number
   DEPARTMENT OF PUBLIC HEALTH ILLINOIS             6 NH23IP922637-05-12
                                                 12. Unique Federal Award Identification Number (FAIN)
   535 W Jefferson St Lbby
                                                    NH23IP922637
   Springfield, IL 62702-5058                    13. Statutory Authority
   [NO DATA]                                        Sections 317, 317(k)(2) of the Public Health Service Act (42 U.S.C. Sections 247b, 247b(k)(2) and 247c), as
                                                    amended.
                                                 14. Federal Award Project Title
2. Congressional District of Recipient              Immunization and Vaccines for Children
   13
3. Payment System Identifier (ID)
   1010632628A1                                  15. Assistance Listing Number
4. Employer Identification Number (EIN)             93.268
   010632628
                                                 16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)           Immunization Cooperative Agreements
   806660296
6. Recipient’s Unique Entity Identifier (UEI)    17. Award Action Type
   NN66PR7QMLR8                                     Administrative Action
7. Project Director or Principal Investigator    18. Is the Award R&D?
                                                    No
    Karyn Lyons
   Immunizations Program Manager                              Summary Federal Award Financial Information
   karyn.lyons@illinois.gov
                                                 19. Budget Period Start Date           07/01/2023 - End Date 03/24/2025
   2177851455
                                                 20. Total Amount of Federal Funds Obligated by this Action                                            $0.00
8. Authorized Official
                                                     20a. Direct Cost Amount                                                                           $0.00
   Ms. Nicole Hildebrand                             20b. Indirect Cost Amount                                                                         $0.00
   CFO, Deputy Director, Office of Finance and
                                                 21. Authorized Carryover                                                                   $102,560,869.00
   Administration
   nicole.hildebrand@illinois.gov                22. Offset                                                                                   $5,429,584.00
   217-993-2367                                  23. Total Amount of Federal Funds Obligated this budget period                              $28,757,679.00
Federal Agency Information
                                                 24. Total Approved Cost Sharing or Matching, where applicable                                         $0.00
 CDC Office of Financial Resources
                                                 25. Total Federal and Non-Federal Approved this Budget Period                               $28,757,679.00
9. Awarding Agency Contact Information           26. Period of Performance Start Date 07/01/2019 - End Date 03/24/2025
 Wayne Woods
                                                 27. Total Amount of the Federal Award including Approved
 kuv1@cdc.gov
                                                     Cost Sharing or Matching this Period of Performance                                    $273,324,629.00
 770-488-2948


                                                 28. Authorized Treatment of Program Income
10.Program Official Contact Information              ADDITIONAL COSTS
 Hilary Oliphant
                                                 29. Grants Management Officer – Signature
 Public Health Advisor
                                                      Percy Jernigan
 hbo1@cdc.gov
 770-488-3973



30. Remarks
 Department Authority




                                                                                                                                               Page 1
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             DEPARTMENT OF HEALTH AND HUMAN
                                        #: 1802SERVICES      Notice of Award
             Centers for Disease Control and Prevention                                         Award# 6 NH23IP922637-05-12
                                                                                                FAIN# NH23IP922637
                                                                                                Federal Award Date: 03/24/2025



Recipient Information                                 33. Approved Budget
                                                      (Excludes Direct Assistance)
Recipient Name                                         I. Financial Assistance from the Federal Awarding Agency Only
 DEPARTMENT OF PUBLIC HEALTH ILLINOIS                  II. Total project costs including grant funds and all other financial participation
 535 W Jefferson St Lbby                              a. Salaries and Wages                                                       $6,733,680.00
 Springfield, IL 62702-5058
                                                      b. Fringe Benefits                                                          $6,224,613.00
 [NO DATA]
                                                           c. Total Personnel Costs                                              $12,958,293.00
                                                      d. Equipment                                                                        $0.00
Congressional District of Recipient
 13                                                   e. Supplies                                                                    $79,944.00
Payment Account Number and Type                       f. Travel                                                                    $521,478.00
 1010632628A1
Employer Identification Number (EIN) Data             g. Construction                                                                     $0.00
 010632628                                            h. Other                                                                    $1,635,890.00
Universal Numbering System (DUNS)
                                                      i. Contractual                                                            $119,727,926.00
 806660296
Recipient’s Unique Entity Identifier (UEI)            j. TOTAL DIRECT COSTS                                                 $134,923,531.00
 NN66PR7QMLR8
                                                      k. INDIRECT COSTS                                                          $1,824,601.00

 31. Assistance Type                                  l. TOTAL APPROVED BUDGET                                              $136,748,132.00
 Cooperative Agreement
                                                      m. Federal Share                                                      $136,748,132.00
 32. Type of Award
 Other                                                n. Non-Federal Share                                                               $0.00


 34. Accounting Classification Codes

 FY-ACCOUNT          DOCUMENT NO.        ADMINISTRATIVE      OBJECT         ASSISTANCE           AMT ACTION FINANCIAL           APPROPRIATION
      NO.                                    CODE            CLASS            LISTING                 ASSISTANCE
  0-9390EWQ         19NH23IP922637C3           IP             41.51            93.268                                   $0.00      75-2024-0943
  1-9390GKL         20NH23IP922637C5           IP             41.51            93.268                                   $0.00      75-2124-0943
  1-9390GUU       20NH23IP922637UDSPC5         IP             41.51            93.268                                   $0.00      75-2124-0943
  1-9390GWA         20NH23IP922637C6           IP             41.51            93.268                                   $0.00       75-X-0943
  2-9390K9M        20NH23IP922637IISC6         IP             41.51            93.268                                   $0.00       75-X-0943




                                                                                                                                      Page 2
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                  DEPARTMENT OF HEALTH AND HUMAN
                                            #: 1803 SERVICES Notice of Award
                                                                                             Award# 6 NH23IP922637-05-12
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NH23IP922637
                                                                                             Federal Award Date: 03/24/2025




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




                                                                                                                               Page 3
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                                       #: 1804
                            AWARD ATTACHMENTS
DEPARTMENT OF PUBLIC HEALTH ILLINOIS                                6 NH23IP922637-05-12
1. COVID TERMINATIONS
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                                       #: 1805



 TERMS AND CONDITIONS OF AWARD



 Termination: The purpose of this amendment is to terminate the use of any remaining
 COVID-19 funding associated with this award. The termination of this funding is for
 cause. HHS regulations permit termination if “the non-Federal entity fails to comply with
 the terms and conditions of the award”, or separately, “for cause.” The end of the
 pandemic provides cause to terminate COVID-related grants and cooperative
 agreements. These grants and cooperative agreements were issued for a limited
 purpose: to ameliorate the effects of the pandemic. Now that the pandemic is over, the
 grants and cooperative agreements are no longer necessary as their limited purpose
 has run out. Termination of use of funding under the listed document number(s) is
 effective as of the date set out in your Notice of Award.
 Impacted document numbers are included on page 2 of this Notice of Award (NoA).
 No additional activities can be conducted, and no additional costs may be incurred, as it
 relates to these funds. Unobligated award balances of COVID-19 funding will be de-
 obligated by CDC. Award activities under other funding may continue consistent with the
 terms and conditions of the award.
 Final Federal Financial Report (FFR, SF-425): Within 30 days please submit final
 FFR’s for impacted document numbers. The FFR should only include those funds
 authorized and expended during the timeframe covered by the report. The final report
 must indicate the exact balance of unobligated funds and may not reflect any
 unliquidated obligations. Should the amount not match with the final expenditures
 reported to the Payment Management System (PMS), you will be required to update
 your reports to PMS accordingly.
 All other terms and conditions of this award remain in effect.
